Case 3:05-mj-00009-DJJ Document 1 Filed 05/24/05 Page 1of8 PagelD #: 1
Criminal Complaint FILED

4 7005
United States District Court MAY ra -couRt
NORTHERN DISTRICT OF WEST VIRGINIA SoIs
UNITED STATES OF AMERICA

CRIMINAL COMPLAINT

V.
CASE NuMBER: 305M F

LAWRENCE ANTHONY FRANKLIN

I, Terry Grzadzielewski, the undersigned complainant being duly sworn state the following is true and correct
to the best of my knowledge and belief. On or about June 30, 2004 in or near Kearneysville, Jefferson County and
in the Northern District of West Virginia, the defendant, LAWRENCE ANTHONY FRANKLIN, did knowingly and
unlawfully possess classified United States government documents relating to the national defense and willfully
retained them and failed to deliver them to the officer or employee of the United States entitled to receive them, as
more fully described in the attached Affidavit, in violation of Title 18 U.S.C. §793(e).

| further state that | am a Special Agent with the FBI, currently assigned to the Martinsburg Resident Agency
of the Pittsburgh Field Office, and that this complaint is based on the following facts:

See Attached Affidavit.

Continued on the attached sheet and made a part hereof. Ml Yes O No

Stanalurgal fortPainant oa”

Sworn to before me, and subscribed in my presence

Hay 2 , toot at Aacbshune, WO

Date City and State

LOD» Jrf

David Joet-United States Magistrate Judge

Case 3:05-mj-00009-DJJ Document 1 Filed 05/24/05 Page 2 of 8 PagelD #: 2

IN THE UNITED STATES DISTRICT COURT FOR THE

NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA

4, _
v. CRIMINAL NO~3D-@S #7 Gf

Smee! emer” eae Se Soe”

LAWRENCE ANTHONY FRANKLIN

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT
I, Terry Grzadzielewski, being duly sworn, hereby state:

l. I am a Special Agent of the Federal Bureau of Investigation (FBI), and have been
so employed for over thirteen years. I am presently assigned to the Martinsburg, West Virginia,
Resident Agency of the Pittsburgh Field Office. I am assigned to a squad responsible for foreign
counterintelligence investigations, to include counterespionage matters, in the State of West
Virginia. I have experience and training in the proper handling of classified materials and the
investigation of crimes related to the improper handling and disclosure of classified information.

2. As more fully described below, I respectfully submit that LAWRENCE
ANTHONY FRANKLIN (“FRANKLIN”) violated 18 U.S.C. § 793{e) in that, being in
unauthorized possession of and control over documents, writings and notes relating to the
national defense, he did willfully retain the same and fail to deliver it to the officer or employee
of the United States entitled to receive it.

3. Information in this affidavit is based on my personal knowledge and on

imformation provided to me by other law enforcement officers during this investigation. This
Case 3:05-mj-0O0009-DJJ Document 1 Filed 05/24/05 Page 3 of 8 PagelD #: 3

affidavit relies on information provided by agencies of the United States Intelligence
Community, which have cooperated with this investigation. This affidavit is not intended to be a
complete statement of the investigation against FRANKLIN, but is for the limited purpose of
setting out probable cause in support of a complaint charging him with a violation of Title 18,
United States Code, Section 793(e)(willful retention of national defense documents) and a
warrant for his arrest.
Background
4. FRANKLIN is a United States citizen. FRANKLIN possesses a bachelor's
degree, master's degree and a PhD. in Asian Studies. FRANKLIN resides in Kearneysville, West
Virginia. He has been employed by the United States Department of Defense (DoD) since 1979.
5. FRANKLIN, at all times relevant to this affidavit, held a Top Secret security
clearance with access to Sensitive Compartmented Information (SCI). FRANKLIN's security
clearance and access to classified information was suspended on June 30, 2004.
6. FRANKLIN has served in the United States Air Force Reserves (USAFR) since
August 14, 1976. He currently holds the rank of Colonel. FRANKLIN was assigned to the
Defense Intelligence Agency (DIA) Defense HUMINT Services and held a Top Secret clearance
with SCI access.
7. Throughout his employment with the United States Government, and as recently
as on or about July 17, 2001, FRANKLIN has repeatedly signed written agreements attesting to

his understanding the law and rules governing the handling of classified information and

acknowledging his duty to safeguard classified information.

Case 3:05-mj-00009-DJJ Document1 Filed 05/24/05 Page 4of8 PagelD #: 4

8. On or about January 9, 2003, FRANKLIN signed a Request for Issuance of DD
Form 2501, Courier Authorization. Through this form FRANKLIN requested, and was granted,
authorization to carry classified information. Pursuant to this authorization, FRANKLIN was
permitted to carry classified information up to the Top Secret level within the
“Washington/Baltimore/Richmond Area (WBRA).” The definition of WBRA includes various
cities and counties in Virginia and Maryland and the District of Columbia. By the document’s
own terms, WBRA does not include any portion of West Virginia.

Classified Information

9. Classified information is defined by Executive Order 12958, as amended by
Executive Order 13292, as follows:

Information in any form that (1) is owned by, produced by or for, or under the

control of the United States Government; (2) falls within one or more of the

categories set forth in Section 1.5 of the Order (including intelligence sources or

methods, cryptology, military plans, and vulnerabilities or capabilities of systems,

installations, projects, or plans related to the national security), and (3) is

classified by an original classification authority who determines that its

unauthorized disclosure reasonably could be expected to result in damage to the

national security.
Under the Executive Order, the designation “Confidential” shall be applied to information, the
unauthorized disclosure of which reasonably could be expected to cause damage to national
security. The designation “Secret” shall be applied to information, the unauthorized disclosure of
which reasonably could be expected to cause serious damage to national security. The

designation “Top Secret” shall be applied to information, the unauthorized disclosure of which

could reasonably be expected to cause exceptionally grave damage to the national security.

Access to classified information at any level may be further restricted through compartmentation

Case 3:05-mj-0O0009-DJJ Document 1 Filed 05/24/05 Page 5of8 PagelD#: 5

in SCI categories. Classified information, of any designation, may only be shared with persons
determined by an appropriate US Government official to be eligible for access to classified
information, who have signed an approved non-disclosure agreement and who possess a need to
know. Ifa person is not eligible to receive classified information, classified information may not
be disclosed to that person.

10. 18 U.S.C. § 793(e) prohibits any person, having unauthorized possession of,
access to, or control over any document, writing or note relating to the national defense from
willfully retaining that document and failing to deliver it to the officer or employee of the United
States entitled to receive it.

FRANKLIN's Improper Handling of Classified Information

11.‘ In or about April 1997, Franklin removed Top Secret documents from their proper
place of storage without authorization and in or about October, 1997, FRANKLIN admitted to
DIA Special Agents that on several occasions he had removed classified documents from the
office and took them home.

12. In or about July 1998, FRANKLIN was issued a letter related to his unauthorized
removal and storage of classified materials and was again advised of the rules and law regarding
proper treatment and handling of classified information and instructed to comply with those rules
and laws.

Classified Documents in FRANKLIN's Residence

13. On June 30, 2004, pursuant to FRANKLIN’s written consent, and a United States
court-authorized criminal search warrant issued in support of this investigation, a search was

conducted of FRANKLIN's residence in Kearneysville, West Virginia. Approximately 83

-4-
Case 3:05-mj-00009-DJJ Document 1 Filed 05/24/05 Page 6 of 8 PagelD #: 6

classified U.S. Government documents were found at his residence, each bearing markers
identifying the documents as classified U.S. Government documents. These document relate to
the national defense. Of these 83 documents, approximately 38 were classified Top Secret,
approximately 37 were classified Secret, and approximately eight were classified Confidential.
Approximately nine of these documents were found on computer disks located in FRANKLIN's
residence. The dates of these documents spanned three decades.

14. Included in the 83 documents discovered at his residence were the following six
documents, which serve as the basis for the request for a criminal complaint:

Title/Description Classification Date

Terrorist Threat Integration Center Top Secret / SCI 8 June 2004
Terrorism Situation Report

Central Intelligence Agency Top Secret / SCI 9 June 2004
document concerning Al-Qa’ida

Central Intelligence Agency Secret / SCI 7 October 2003
document concerning Usama
Bin Laden and Al-Qa’ida

Central Intelligence Agency Secret 12 May 2004
document concerning Al-Qa’ida

Central Intelligence Agency Secret 4 June 2004
Memorandum on Iraq

Central Intelligence Agency Secret 10 June 2004
Defense Executive Intelligence
Review concerning Terrorists

Case 3:05-mj-00009-DJJ Document 1 Filed 05/24/05 Page 7 of 8 PagelD #: 7

15. Aclassification review of each of the documents listed in paragraph 14 has been
conducted by the appropriate intelligence agency for each document. Each of the documents
listed in paragraph 14 is currently classified and was classified at the level indicated in this
affidavit at the time they were found in FRANKLIN’s residence.

16. On or about June 30, 2004, FRANKLIN submitted to a voluntary, non-custodial
interview with FBI Special Agents. In that interview FRANKLIN was told that the FBI had a
search warrant to search his residence after the interview and was asked if he would consent to
that search. FRANKLIN consented to the search and signed a written consent form.
FRANKLIN was present for the search. FRANKLIN provided verbal consent to search his
residence. In the course of the interview, FRANKLIN admitted that he had taken classified
documents to his residence the week of June 23, 2004.

17. On July 13, 2004, FRANKLIN voluntarily came to the FBI, Washington Field
Office and reviewed items seized from his office and residence. FRANKLIN did not dispute that
the documents were found in his residence. After reviewing the items presented to him,
FRANKLIN admitted that he recently took home approximately thirty-four documents, dated
between October 2003 and June 2004, which were classified either Secret or Top Secret, some
with additional SCI access levels. Additionally, in this interview, FRANKLIN admitted that he
may have disclosed information from one of the classified documents found at his residence to a
foreign official who was not authorized to receive that information.

18.  Atno time was FRANKLIN’s residence an authorized location for the storage of
classified U.S. Government documents. Additionally, the documents were stored throughout the

residence in open and closed storage containers with at least one document in plain view.

-6-

Case 3:05-mj-0O0009-DJJ Document 1 Filed 05/24/05 Page 8 of 8 PagelD #: 8

Conclusion
19. Based on the foregoing, I respectfully submit that there is probable cause to
believe that Lawrence Anthony Franklin knowingly and unlawfully possessed classified US
government documents relating to the national defense and willfully retained them and failed to
deliver them to the officer or employee of the United States entitled to receive them in violation
of 18 U.S.C. § 793(e). I request that a criminal complaint be issued charging LAWRENCE
ANTHONY FRANKLIN with a violation of Title 18, United States Code, Section 793(e) and

that a warrant for the arrest of Lawrence Anthony Franklin be issued.

Terry @sadZiclewski
FBI - Special Agent

2g
Subscribed and sworn to before me this #4” _ day of May, 2005
"David ING

United States SNe Judge

